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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GLOBAL GAMING PHILIPPINES, LLC,

                       Plaintiff,

                v.                                No. 21-CV-2655 (LGS) (SN)

 ENRIQUE K. RAZON, JR., et al.,                   NOTICE OF MOTION

                       Defendants.




     PLEASE TAKE NOTICE that upon the accompanying Declarations of Marjorie T.

Uyengco-Nolasco and Ninez C. Maningat, and the accompanying Memorandum of Law,

Defendant Enrique K. Razon, Jr., by and through his counsel, will move this Court, at a date and

time to be determined, for an Order pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure dismissing, with prejudice, Count V of the Second Amended Complaint (“SAC”) in this

action and the demand for punitive damages set forth in the SAC for failure to state a claim upon

which relief can be granted, and granting such other and/or further relief as the Court deems just

and proper.


Dated:    April 18, 2022                         WALFISH & FISSELL PLLC
          New York, New York
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